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To whom it may concern,

My name is Steve Holdren, the brother of Mark Holdren. Thank you for the opportunity to share
with you a little bit about Mark. I’ll start off by saying that I am Mark’s older brother by 5 years
and in saying that, I have quite the memory of him throughout the years. I can remember the
first time I ever saw him, to the times when we were growing up and he was always following
me around, just because he wanted to be with me. That’s what little brothers do! Mark and I had
a unique upbringing due to the fact we didn’t live together. He and I have the same father but
different mothers, so we seen each other every other weekend and some holidays and usually
spent 2 weeks together in the summertime. I’ll submit to you that it's my belief that our early
childhood is what kept Mark and myself close at heart throughout our lives and moving forward
as adults. Mark and I coincidentally became dads to two little girls that were born very close
together and then later on two boys whose birthdays are 1 year apart. From time to time we
would get together and have quality time together with us and our kids. I always admired Mark
for his ability to put a smile on his kids' faces. To watch his 2 children interacting with him always
reminded me of the little Mark chasing me around and looking up to me. It’s a bond and
connection that will forever be. Mark is the best dad. I’m sure Haley and Konnor can attest to
this. Mark is quite the outdoorsman as he loves to spend time fishing, hunting, kayaking etc.,
and this time was always spent with Haley and Konnor. I recall a weekend that I spent with Mark
and his kids along with my family. This was at my house as Mark came over and helped me
build a deck. The time flew by as we had a blast laughing together. We all laughed together.
This particular weekend wasn’t necessarily planned for him but he found out I was doing a little
at home project and he decided he was all in to help me out. That's how Mark is, he will do
anything in this world to help someone. In writing this letter I am aware that Mark has made
mistakes and bad choices, Mark is aware of this too. I’m sharing with you just a snapshot
through my eyes of Mark and his character. Mark has a huge heart. It’s my belief that Mark is a
good person. To whomever receives this letter, thank you for your time and consideration. Have
a nice day.

Sincerely, Steve Holdren
